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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 State of Texas;                                 §
 Daniel A. Bonevac;                              §
 John Hatﬁeld,                                   §
        Plaintiﬀs,                               §
                                                 §
                                                 §
 v.
                                                 §
                                                 §         CIVIL ACTION NO. 2:24-CV-86-Z
 The United States of America;
                                                 §
 Miguel Cardona, in his oﬃcial
                                                 §
 capacity as Secretary of the United States
                                                 §
 Department of Education; the United
                                                 §
 States Department of
                                                 §
 Education; Catherine Lhamon, in
                                                 §
 her oﬃcial capacity as Assistant Secretary
                                                 §
 for Civil Rights; Department of Education;
                                                 §
 and Randolph Willis, in his oﬃcial
                                                 §
 capacity as Deputy Assistant Secretary for
                                                 §
 Education, Department of Education,
                                                 §
        Defendants.                              §


               PLAINTIFF STATE OF TEXAS’S UNOPPOSED MOTION
                  TO WITHDRAW RYAN WALTERS AS COUNSEL




       Plaintiﬀ, the State of Texas (Texas), ﬁles this Unopposed Motion to Withdraw Ryan D.

Walters as counsel of record in this matter.

       Mr. Walters has accepted a position within the Oﬃce of the Attorney General of Texas but

outside of the Special Litigation Division handling this litigation, and Texas respectfully requests

that he be withdrawn as its counsel. Texas will continue to be represented by co-counsel listed

below. This withdrawal is unopposed and will not delay any proceedings.
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                                               COUNSEL FOR PLAINTIFF
                                               STATE OF TEXAS



                                CERTIFICATE OF CONFERENCE

      I certify that on January 30, 2025, I conferred with all counsel by email, and none were
opposed to this motion

                                              /S/ Ryan D. Walters
                                              RYAN D. WALTERS


                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was ﬁled electronically
(via CM/ECF) on January 31, 2025, and that all counsel of record were served by CM/ECF.

                                              /S/ Ryan D. Walters
                                              RYAN D. WALTERS
